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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 CHAD STANBRO,

                               Plaintiff,
                                                             No. 20-CV-1591 (KMK)
        v.

 CORRECTION OFFICER NADYA PALOU,
 et al.,

                               Defendants.


 CHAD STANBRO,

                               Plaintiff,
                                                             No. 19-CV-10857 (KMK)
        v.
                                                             SCHEDULING ORDER
 WESTCHESTER COUNTY HEALTH
 CARE CORPORATION, et al.,

                               Defendants.


KENNETH M. KARAS, United States District Judge:

       The Court deems all post-trial motions to have been made on July 14, 2022.

       Defendants shall file their respective briefs in support of their motions by no later than

September 30, 2022. Plaintiff shall file his responses by no later than October 3 1, 2022.

Defendants shall file their replies by no later than November 14, 2022. The Court will hold oral

argument on all motions on December 13, 2022 at 10:00AM in Courtroom 521, U.S. District

Court, 300 Quarropas Street, White Plains, New York 10601.
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     Plaintiff’s deadline to move for attorney’s fees is stayed.

SO ORDERED.

Dated:    July 15, 2022
          White Plains, New York


                                                         KENNETH M. KARAS
                                                        United States District Judge
